                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    7:23-CY-897



 TNRE:                                               )
                                                     )               ORDER
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        The court has reviewed the materials submitted by attorneys and third parties regarding

service in Plaintiffs' Leadership Council, pursuant to the court's previous orders on April 25, 2023

[D.E. 1] and May 22, 2023 [D.E. 4).

        Unless good cause is shown by July 3, 2023, why the process should not proceed, the court

will conduct finalist interviews based on those submissions on a date to be detennined. Not all

attorneys who submitted materials will be interviewed. After completing its interviews, the court

anticipates that it will announce the members comprising Plaintiffs' Leadership Council by

subsequent Notice.

        Plaintiffs' Leadership Council will also be responsible for proposing any additional

Plaintiff leadership structure, including subcommittees, that it anticipates will help facilitate an

efficient resolution to this litigation (collectively, "Plaintiffs' Leadership Group").

        The Plaintiffs' Leadership Group, in consultation with the attorneys for the United States,

will be initially responsible for submitting case management proposals to the Court regarding: (1)

the creation of any necessary master pleadings; and proposals for: (2) consolidating discovery; (3)

coordinating expert-related motions; (4) coordinating dispositive motions; (5) bellwether

selection; (6) trials; (7) settlement negotiations; and (8) establishing and managing a common

fund.




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       Based on proposals by Plaintiffs ' Leadership Council, the court anticipates that it will enter

master case management orders applicable to all Plaintiffs and attorneys participating in the

Plaintiffs' Leadership Group. Plaintiffs ' Leadership Council will be responsible for managing

those participants' compliance with any master case management orders.

       The court emphasizes that participation in the Plaintiffs' Leadership Group is optional.

       The court ORDERS those who object to the above interview and selection process for

Plaintiffs' Leadership Council to submit good cause supporting its objections to the clerk's office

in Raleigh by mail or hand delivery on or before July 3, 2023.


SO ORDERED. This 20th day of June, 2023.



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       RICHARD E. MYERS II
       Chief United States District Judge
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       United States District Judge                          United States District Judge




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